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                       UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MINNESOTA


 In re:                                           Bky. No.: 15-32904

 Billy William Austin,                            Chapter 13
  aka Bill W Austin,
 Jessica Marie Austin,

 Debtors.


             NOTICE OF APPEARANCE AND REQUEST FOR NOTICE


          Pursuant to Bankruptcy Rule 9010(b), 2002(g)(1), and Local Rule 2002-5, the

 undersigned hereby notes an appearance as attorney for:

                                 Wells Fargo Bank, N.A.

 a creditor in the above case, and requests all parties in interest to serve copies of all

 notices and all papers (including pleadings, motions, applications, orders, and financial

 and other reports) served or filed in this case upon the undersigned at the office address

 set forth below.

                               Wells Fargo Bank, N.A.
                               c/o Schiller and Adam, P.A.
                               25 Dale Street North
                               St. Paul, MN 55102

                                            Respectfully submitted,

                                            SCHILLER & ADAM

 Dated: October 9, 2015               By: /e/ Samuel R. Coleman
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                                          The Academy Professional Building
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                                          St. Paul, MN 55102
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